Case 8:19-bk-10440-MH   Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06      Desc
                         Main Document    Page 1 of 9




                                 Signature unavailable due to stroke and incapacity
             Case 8:19-bk-10440-MH                  Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06                                      Desc
                                                     Main Document    Page 2 of 9


Fill in this information to identify your case:

Debtor 1                      Stephen B. Fuller

Debtor 2                      Renée M. Fuller
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               8:19-bk-10440-MH                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status*
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Retired                                     Medical billing (part-time)
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                   Golden Coast Medical Billing

       Occupation may include student        Employer's address
                                                                                                               200 Canyon Creek Way
       or homemaker, if it applies.
                                                                                                               Oceanside, CA 92057

                                             How long employed there?                                                   2020 to Present
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $         700.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $   700.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
           Case 8:19-bk-10440-MH                 Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06                                             Desc
                                                  Main Document    Page 3 of 9

Debtor 1    Stephen B. Fuller
Debtor 2    Renée M. Fuller                                                                      Case number (if known)    8:19-bk-10440-MH


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $           700.00

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $              0.00     $                0.00
     5b.     Mandatory contributions for retirement plans                                 5b.        $              0.00     $                0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $              0.00     $                0.00
     5d.     Required repayments of retirement fund loans                                 5d.        $              0.00     $                0.00
     5e.     Insurance                                                                    5e.        $              0.00     $                0.00
     5f.     Domestic support obligations                                                 5f.        $              0.00     $                0.00
     5g.     Union dues                                                                   5g.        $              0.00     $                0.00
     5h.     Other deductions. Specify:                                                   5h.+       $              0.00 +   $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $           700.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          0.00         $            0.00
     8d. Unemployment compensation                                                        8d.        $          0.00         $            0.00
     8e. Social Security                                                                  8e.        $      1,893.00         $        1,610.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                  0.00
     8g. Pension or retirement income                                                     8g. $               187.13   $                  0.00
     8h. Other monthly income. Specify: Roomate                                           8h.+ $                0.00 + $              1,200.00
             Independent Contractor - Coherence Associates                                     $                0.00   $                900.00
             Independent Contractor - Pediatrics & Neonatology                                 $                0.00   $              3,000.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,080.13         $           6,710.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,080.13 + $         7,410.00 = $           9,490.13
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.    $          9,490.13
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
           Case 8:19-bk-10440-MH          Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06                          Desc
                                           Main Document    Page 4 of 9

Debtor 1    Stephen B. Fuller
Debtor 2    Renée M. Fuller                                                    Case number (if known)   8:19-bk-10440-MH



                                                 Official Form B 6I
                                 Attachment for Additional Employment Information

Debtor
Occupation              Medical Billing
Name of Employer        Pediatrics & Neonatology Medical Grp OC
How long employed       8/1/2022 to Presetn
Address of Employer     PO Box 8500
                        Newport Beach, CA 92658                              Independent Contractor

Spouse
Occupation              Medical billing
Name of Employer        Coherence Associates, Inc.
How long employed       3/2022 to Present
Address of Employer     6183 Paseo Del Norte #140
                        Carlsbad, CA 92011                                   Independent Contractor




Official Form 106I                                        Schedule I: Your Income                                          page 3
        Case 8:19-bk-10440-MH                        Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06                                             Desc
                                                      Main Document    Page 5 of 9


Fill in this information to identify your case:

Debtor 1                   Stephen B. Fuller                                                                Check if this is:
                                                                                                                An amended filing
Debtor 2                   Renée M. Fuller                                                                            A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                   13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                              MM / DD / YYYY

Case number           8:19-bk-10440-MH
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                No
      Do not list Debtor 1 and               Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                     each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                        No
      dependents names.                                                                                                                       Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                      No
      expenses of people other than
      yourself and your dependents?                 Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                              64.04
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.    $                               0.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                               0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                             page 1
       Case 8:19-bk-10440-MH                         Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06                                                Desc
                                                      Main Document    Page 6 of 9

Debtor 1     Stephen B. Fuller
Debtor 2     Renée M. Fuller                                                                           Case number (if known)      8:19-bk-10440-MH

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                  80.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  60.00
      6d. Other. Specify: Cable/Internet                                                     6d. $                                                 193.00
7.    Food and housekeeping supplies                                                           7. $                                                575.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                  0.00
10.   Personal care products and services                                                    10. $                                                   0.00
11.   Medical and dental expenses                                                            11. $                                                  30.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 225.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   50.00
      15b. Health insurance                                                                15b. $                                                   19.00
      15c. Vehicle insurance                                                               15c. $                                                  209.10
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Taxes for mobile home                                                         16. $                                                  32.56
      Specify: Repayment of loan from sister for moving expenses                                  $                                                281.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Mobile Space Rent                                                   21. +$                                                775.43
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,694.13
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $                       5,903.23
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,597.36
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               9,490.13
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,597.36

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 892.77

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
          Case 8:19-bk-10440-MH                    Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06                                         Desc
                                                    Main Document    Page 7 of 9

Debtor 1      Stephen B. Fuller
Debtor 2      Renée M. Fuller                                                                        Case number (if known)   8:19-bk-10440-MH


Fill in this information to identify your case:

Debtor 1              Stephen B. Fuller                                                                 Check if this is:
                                                                                                            An amended filing
Debtor 2              Renée M. Fuller                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                          expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                     MM / DD / YYYY

Case number           8:19-bk-10440-MH
(If known)




Official Form 106J-2
Schedule J-2: Your Expenses for Separate Household of Debtor 2                                                                                         12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this
form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1:       Describe Your Household

1.    Do you and Debtor 1 maintain separate households?
            No. Do not complete this form.
            Yes

2.    Do you have dependents?              No
      Do not list Debtor 1 but             Yes.
      list all other
      dependents of Debtor 2
      regardless of whether
      listed as a dependent
      of Debtor 1 on                              Fill out this information for    Dependent’s relationship to       Dependent’s      Does dependent
      Schedule J.                                 each dependent................   Debtor 2                          age              live with you?

      Do not state the                                                                                                                   No
      dependents names.
                                                                                                                                         Yes
      .                                                                                                                                  No
                                                                                                                                         Yes
      .                                                                                                                                  No
                                                                                                                                         Yes
      .                                                                                                                                  No
                                                                                                                                         Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes


Part 2:   Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                        2,900.00

      If not included in line 4:

      4a.     Real estate taxes                                                                           4a. $                                0.00

Official Form 106J                                                  Schedule J: Your Expenses                                                          page 3
       Case 8:19-bk-10440-MH                         Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06                                                Desc
                                                      Main Document    Page 8 of 9

Debtor 1     Stephen B. Fuller
Debtor 2     Renée M. Fuller                                                                           Case number (if known)      8:19-bk-10440-MH

      4b. Property, homeowner’s, or renter’s insurance                                                       4b.   $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                      4c.   $                               100.00
      4d. Homeowner’s association or condominium dues                                                        4d.   $                               252.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5.   $                                 0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 350.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 134.65
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 124.94
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                443.84
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                150.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                  20.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 310.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 150.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   83.93
      15b. Health insurance                                                                15b. $                                                  401.23
      15c. Vehicle insurance                                                               15c. $                                                   82.74
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: IRS Installment plan payments for 2021                                        16. $                                                 250.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Timeshare                                                           21. +$                                                 49.90
22. Your monthly expenses. Add lines 5 through 21.                                                                     $                     5,903.23
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to
    calculate the total expenses for Debtor 1 and Debtor 2.

23. Line not used on this form.
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 4
Case 8:19-bk-10440-MH   Doc 204 Filed 02/15/23 Entered 02/15/23 12:19:06   Desc
                         Main Document    Page 9 of 9
